Case 1:09-cv-01862-RMB-RLE    Document 11     Filed 08/03/09    Page 1 of 38




                  UNITED STATES DISTRICT COURT
                 SOUTHERN DISTRICT OF NEW YORK


SERVAAS INCORPORATED,               )
                                    )
                  Plaintiff,        )      Case No. 09 CV 1862 (RWS)
                                    )
      v.                            )
                                    )
REPUBLIC OF IRAQ and                )
MINISTRY OF INDUSTRY OF THE         )
REPUBLIC OF IRAQ,                   )
                                    )
                  Defendants.       )
____________________________________)

____________________________________________________________________
                MEMORANDUM OF LAW IN SUPPORT OF
    DEFENDANTS REPUBLIC OF IRAQ AND MINISTRY OF INDUSTRY
     OF THE REPUBLIC OF IRAQ MOTION TO DISMISS COMPLAINT
_____________________________________________________________________


                                    MAGGS & McDERMOTT LLC

                                    Timothy B. Mills (TM-8693)
                                    910 17th Street N.W., Suite 800
                                    Washington, D.C. 20006
                                     (202) 457-8090 Telephone
                                     (202) 478-5081 Facsimile
                                    Lead Counsel for Defendant Republic of
                                    Iraq
                                    (Pending Admission Pro Hac Vice Upon
                                    Filing of Pro Hac Vice Motion)

                                    LAW OFFICES OF STEPHEN
                                    ALBRIGHT

                                    Stephen Albright (SA-4979)
                                    368 Veterans Memorial Highway, 2nd Floor
                                    Commack, New York 11725
                                    (631) 864-4967 Telephone
                                    (631) 864-4972 Facsimile
                                    Co-Counsel for Defendant Republic of Iraq
3 August 2009
Case 1:09-cv-01862-RMB-RLE      Document 11      Filed 08/03/09   Page 2 of 38




                          TABLE OF CONTENTS

                                                                         Page

TABLE OF AUTHORITIES…………………………………………………                                  iv

I.    PRELIMINARY STATEMENT...……………………………………                             1

      Summary of Grounds for Dismissal…...………………………………                   1

      1.   Absence of Foreign Sovereign Immunities Act
           Subject Matter and In Personam Jurisdiction Over Each
           Iraqi Sovereign Defendant (Fed.R.Civ.P. 12(b)(1)-(2))..………    1

      2.   Absence of Legally Cognizable Claim to Enforce
           Against Iraq the French Court Money Judgment
           Entered Solely Against the Ministry of Trade in an
           Action Relating to An Arbitration to Which Iraq Was
           Not a Party (Fed.R.Civ.P. 12(b)(6)) ...…………………………             2

      3.   Absence of Subject Matter and In Personam Jurisdiction
           Over Iraqi Sovereign Defendants: Failure of the Complaint
           To Plead Legally-Sufficient Fact to Establish a Prima Facie
           Claim of Jurisdiction under the FSIA “Commercial Activities
           Exception to Foreign Sovereign Immunity
           (Fed.R.Civ.P. 12(b)(1)-(2)) ...……………………………………                 3

      4.   Iraqi Assets in the United States Covered by U.N. Security
           Council Resolution and Executive Order 13364 Are
           Immune Against Any Attachment, Judgment, Decree, Lien
           Execution, Garnishment or Other Judicial Process of a U.S.
           Court. Thus, the Complaint Fails to State a Claim Upon
           Which Relief May be Granted as to Such Iraqi Assets
           (Fed.R.Civ.P. 12(b)(6)) ...………………………………………..                  4

      5.   To the Extent the Complaint Seeks Attachment or Execution
           Against Assets of the Iraqi Sovereign Defendants that Are
           Immune from Attachment or Execution Under FSIA
           §§ 1610 and 1611, the Complaint Must Be Dismissed for
           Failure to State a Claim Upon Which Relief May Be Granted
           (Fed.R.Civ.P. 12(b)(6)) ...………………………………………..                  5


II.   APPLICABLE LAW...…………………………………… …………….                             6




                                     -i-
Case 1:09-cv-01862-RMB-RLE    Document 11    Filed 08/03/09   Page 3 of 38




       A.   Motion to Dismiss for Lack of Subject Matter and
            In Personam Jurisdiction Under FSIA
            (Fed. R. Civ. P. 12(b)(1)-(2)) ...………………………………….       6

       B.   Motion to Dismiss for Failure to State a Claim Upon
            Which Relief May be Granted
            (Fed. R. Civ. P. 12(b)(6)) ...……………………………………..         8

III.   ARGUMENT...…………………………………… ……………………                          9

A.     The Court Lacks Subject Matter and In Personam Jurisdiction
       Over the Iraqi Sovereign Defendants Because Neither
       Defendant Has Waived Sovereign Immunity as to Any
       Action in Any U.S. Court...…………………………………… ………… 9

       1.   No Diversity of Jurisdiction Exists Over the Iraqi
            Sovereign Defendants...………………………………………….. 9

       2.   No Subject Matter or Personal Jurisdiction Exists
            Under the FSIA as to Any Iraqi Sovereign Defendant;
            Neither Iraqi Sovereign Defendant Has Waived
            Sovereign Immunity as to Any Action that Might Be
            Brought by Plaintiff Servaas in a U.S. Court.……………………. 9

B.     No Legally Cognizable Claim Exists Against Iraq as to
       Enforcement of the French Money Judgment Entered
       Against the Ministry of Industry; Iraq Was Not a Party
       to Either the Arbitration, the Legal Action Against the
       Ministry of Industry, or the Money Judgment Entered
       Against the Ministry of Industry...………………………………………… 15

C.     The Complaint Fails to Plead Legally-Sufficient Facts to
       Establish a Prima Facie Claim to FSIA Subject Matter and
       Personal Jurisdiction Over Any Iraqi Sovereign Defendants
       Under the “Commercial Activities” Exception to
       Foreign Sovereign Immunity...…………………………………………….. 16

D.     Iraqi Assets in the United States Are Immunized Against
       Attachment and Execution by U.N. Security Council
       Resolutions and by Executive Order 13364 that Prohibits and
       Makes Void Any U.S. Court Attachment, Judgment, Decree,
       Lien, Execution, Garnishment or Other Judicial Process
       Against Such Assets; Thus, the Complaint Must Be Dismissed
       for Failure to State a Claim Upon Which Relief May
       be Granted...…………………………………… ………………………… 16




                                   -ii-
Case 1:09-cv-01862-RMB-RLE           Document 11       Filed 08/03/09    Page 4 of 38




E.     To the Extent the Complaint Seeks Attachment or Execution
       Against Assets of the Iraqi Sovereign Defendants That Are
       Immune from Attachment or Execution under
       FSIA §§ 1610 AND 1611, the Complaint Must Be Dismissed
       for Failure to State a Claim Upon Which Relief
       May be Granted...…………………………………… …………………… 22

IV.    CONCLUSION...…………………………………… …………………… 23

Exhibits:

1.     United Nations Commission on International Trade, Status,
       1958 – Convention on the Recognition and Enforcement of
       Arbitral Awards

2.     U.N. Security Council Resolution 1483 (2003)

3.     Executive Order 13303, “Protecting the Development Fund for Iraq and Certain
       Property in Which Iraq Has an Interest”, 68 Fed. Reg. 31931-2
       (May 29, 2003)

4.     Executive Order 13364 of 29 November 2004, “Modifying the
       Protection Granted to the Development Fund for Iraq and Certain
       Property in Which Iraq Has an Interest and Protecting the
       Central Bank of Iraq”, 69 Fed. Reg. 70177-8 (November 29, 2004)

5.     Presidential Notice of May 20, 2008—Continuation of the
       National Emergency with Respect to the Stabilization of Iraq”,
       73 Fed. Reg. 26983-4 (May 21, 2008)

6.     U.N. Security Council Resolution 1859 (2008)

7.     Presidential Notice “Continuation of the National Emergency
       with Respect to the Stabilization of Iraq,”
       74 Fed. Reg. 23935 (May 21, 2009)




                                          -iii-
Case 1:09-cv-01862-RMB-RLE          Document 11       Filed 08/03/09    Page 5 of 38




                            TABLE OF AUTHORITIES

CASES:                                                                       Page

Bolt Elec., Inc. v. City of New York, 53 F.3d 465, 469 (2d Cir. 1995) ………    8

Coleman v. Alcolac, Inc. 888 F. Supp. 1388 (S.D. Tex. 1995) …………………          7

APWU v. Potter, 343 F.3d 619, 623 (2d Cir.2003) ……………………. ………                6

Ashcroft v. Iqbal, 129 S.Ct. 1937, 1949 (2009)……………………. …………..               3

Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 557 (2007)……………….…….           3

Brass v. American Film Technologies, Inc., 987 F.2d 142, 150 (2d Cir.1993) …. 8

Cabiri v. Government of the Republic of Ghana,
165 F.3d 193, 196 (2d Cir.1999) ……………….…….……………….…………. 7

Chance v. Armstrong, 143 F.3d 698, 701 (2d Cir.1998) ……………….…………. 8

Chios Charm Shipping Co. v. Rionda, 93 Civ. 6313 (SS),
1994 WL 132141, at *3 (S.D.N.Y.) ……………….………….……….…………. 13, 15

Conley v. Gibson, 355 U.S. 41, 45-46 (1957) ……………….……………………. 8

Gibbons v. Udaras na Gaeltachta, 549 F. Supp. 1094, S(.D.N.Y. 1982) ………. 8

Gvozdenovic v. United Air Lines, Inc., 933 F.2d 1100, 1105 (2d Cir.1991) ……. 13, 15

Maritime Ventures Int’l Inc. v. Carribean Trading & Fidelity Ltd.,
689 F.Supp. 1340, 1351 (S.D.N.Y., 1988) ……………….…………………….                     11, 12

Mills v. Polar Molecule Corp., 12 F.3d 1170, 1174 (2d Cir.1993) ……………..      8

Rein v. Socialist People’s Libyan Arab Jamahiriya,
995 F. Supp. 325 (E.D.N.Y. 1988) ……………….…….……………….………. 7

Reiss v. Societe Centrale Du Groupe Des Assurances Nationales,
235 F.3d 738, 48 Fed. R. Serv. 3d 382 (2d Cir. 2000) ….…….………………….. 7

Republic of Argentina v. Weltover, Inc., 504 U.S. 607, 611 (1992) …………….. 7, 9

Ryder v. Energy Distribution Corp. v. Merrill Lynch Commodities, Inc.,
748 F.2d 774, 779 (2d Cir. 1984) ….…….………………………………………. 8




                                         -iv-
Case 1:09-cv-01862-RMB-RLE         Document 11     Filed 08/03/09    Page 6 of 38




Seetransport Wiking Trader Schiffarhtsgesellschaft MBH & Co.,
Kommanditgesellschaft v. Navimpex, 989 F.2d 572, 576 (2d Cir. 1993) ………… 10, 12
                                                                         13

Shapiro v. Republic of Bolivia, 930 F.2d 1013, 1017 (2d Cir.1991) ……………    11

Southway v. Central Bank of Nigeria, 994 F. Supp. 1299 (D. Colo. 1998) ………. 8

United States v. Stauffer Chem. Co., 464 U.S. 165, 170 (1984) ……….……….     16

Verlindin B.V. v. Central Bank of Nigeria,, 488 F.Supp, 1284, 1302
(S.D.N.Y. 1980) ….…….……………………………………….………………… 11

Virtual Countries, Inc. v. Republic of South Africa,
300 F.3d 230, 236 (2d Cir. 2002) ……………….…….……………….…………. 7, 9

STATUTES:

22 U.S.C. § 287c a).…………………….…………………….………………..                             4, 16
28 U.S.C. § 1330….…………………….…………………….………………..                               7
28 U.S.C. § 1332….…………………….…………………….………………..                               9
28 U.S.C. § 1601 et seq. .…………………….…………………….…………..                         1
28 U.S.C. § 1603(a) .…………………….…………………….……………….                             7
28 U.S.C. § 1604.…………………….…………………….………………. …..                             7, 9
28 U.S.C. § 1605.…………………….…………………….………………. …..                             7, 9
28 U.S.C. § 1605(a)(1) .…………………….…………………….……………..                          11
U.S.C. § 1607.…………………….…………………….……………….………                                 7, 9
28 U.S.C. § 1610.…………………….…………………….……………………                                5, 6, 22
28 U.S.C. § 1611.…………………….…………………….……………………                                5, 6, 22
50 U.S.C. 1622(d) …………………….…………………….……………………                               21
50 U.S.C. §§ 1701-1706.…………………….…………………….…………….                            4, 16,
                                                                           18

RULES:

Federal Rule of Civil Procedure 8(a)(2) .…………………….………………….                 3
Federal Rule of Civil Procedure 12(b) .…………………….………………….                   9
Federal Rule of Civil Procedure 12(b)(1) .…………………….………………..                1, 2, 3,
                                                                           4, 6, 16
Federal Rule of Civil Procedure 12(b)(2) .…………………….………………..                1, 2, 3,
                                                                           4, 6, 16
Federal Rule of Civil Procedure 12(b)(6) .…………………….………………..                1, 2, 3,
                                                                           4, 5, 6,
                                                                           8, 15,
                                                                           22




                                        -v-
Case 1:09-cv-01862-RMB-RLE       Document 11    Filed 08/03/09   Page 7 of 38




TREATIES AND INTERNATIONAL CONVENTIONS

Convention on the Recognition and Enforcement of Foreign Arbitral Awards of
1958.…………..…………. .…………..…………..…………. .…………..…….. 10, 12
United Nations Commission on International Trade, Status,
1958 – Convention on the Recognition and Enforcement of Arbitral Awards….. 10

UNITED NATIONS RESOLUTIONS

United Nations Security Council Resolution 1143 (1997) .……………………..     17, 18,
                                                                       20
United Nations Security Council Resolution 1859 (2008) .……………………..     20, 21

TREATISES OF LAW

Restatement (Second) of Judgments § 29 .……………………… .……………… 15

ADMINISTRATIVE MATERIALS

E.O. 13303 (22 May 2003) ……… .………… .……………………….… .… .… 18, 21
E.O. 13315 (28 August 2003) …… .………… .……………………….… .… .… 19
E.O. 13350 (29 July 2004) ……… .………… .……………………….… .… .… 19, 21
E.O. 13364 (29 November 2004) ……… .………… .……………………… .… 4, 5, 17
                                                        19, 20,
                                                        21, 22
E.O. 13438 (17 July 2007) ………………….……………………….….….……. 19, 21
Presidential Notice of May 20, 2008 ………………….………………………… 20
Presidential Notice of May 19, 2009 ………………….………………………… 21




                                     -vi-
Case 1:09-cv-01862-RMB-RLE             Document 11           Filed 08/03/09   Page 8 of 38




I.     PRELIMINARY STATEMENT

       Plaintiff Servaas Incorporated’s (“Servaas”) asks this Court to enter a federal

court money judgment against both the Ministry of Industry of the Republic of Iraq, a

political subdivision of the foreign sovereign Republic of Iraq (“Ministry of Industry”)

and against the foreign sovereign Republic of Iraq itself (“Iraq”) (collectively, the “Iraqi

Sovereign Defendants”).

       For the reasons summarized in this preliminary statement and fully established

below, the Complaint should be dismissed with prejudice: (i) pursuant to Federal Rule of

Civil Procedure (Fed.R.Civ.P.) 12(b)(1) and (2) for want of subject matter and in

personam jurisdiction under the U.S. Foreign Sovereign Immunities Act, 28 U.S.C. 1601

et seq., over any Iraqi Sovereign Defendant; and (ii) pursuant to Fed.R.Civ.P. 12(b)(6) for

failure to state a claim upon which relief can be granted.

       A.      Summary of Grounds for Dismissal

       The Court should dismiss the Complaint with prejudice for each and all of the

following five separate and independent grounds.

       1.      ABSENCE OF FOREIGN SOVEREIGN IMMUNITIES ACT
               SUBJECT MATTER AND IN PERSONAM JURISDICTION OVER
               EACH IRAQI SOVEREIGN DEFENDANT (Fed.R.Civ.P. 12(b)(1)-
               (2))

       This Complaint in this action implicates a critically important – but well settled –

issue under the U.S. Foreign Sovereign Immunities Act (FSIA), 28 U.S.C. § 1601 et seq.,

under the undisputed facts of this case stated in the Complaint, no United States court

possesses either subject matter or in personam jurisdiction over the Ministry of Industry

of the Republic of Iraq (“Ministry of Industry”) (a political subdivision of a foreign

sovereign Republic of Iraq (“Iraq”)) (the Ministry of Industry and Iraq collectively



                                             -1-
Case 1:09-cv-01862-RMB-RLE              Document 11        Filed 08/03/09      Page 9 of 38




referred to hereinafter as “Iraqi Sovereign Defendants”) because neither Iraqi Sovereign

Defendant comes within any FSIA exception to foreign sovereign immunity.

Accordingly, on that ground alone the Complaint must be dismissed with prejudice as to

each Iraqi Sovereign Defendant. Federal Rule of Civil Procedure (Fed.R.Civ.P.) 12(b)(1)

and (2).

       2.      ABSENCE OF LEGALLY-RECOGNIZABLE CLAIM TO
               ENFORCEMENT AGAINST THE REPUBLIC OF IRAQ OF A
               FOREIGN MONEY JUDGMENT ENTERED IN AN ACTION
               AGAINST THE MINISTRY OF INDUSTRY TO WHICH IRAQ
               WAS NOT A PARTY (Fed.R.Civ.P. 12(b)(6))

       Without waiving any foreign sovereign immunities/jurisdictional defenses, Iraq

moves to dismiss the Complaint on a ground that is critically weighty for Iraq – and

presumably also for other foreign sovereigns: the Complaint asks this Court to recognize

and enforce a foreign money judgment against Iraq – wholly separate and aside from

plaintiff’s claim for recognition and enforcement of the French court money judgment

existing only against the Ministry of Industry – even through there exists no foreign

money judgment against Iraq. As the Complaint itself states and thereby indisputably

establishes, only the Ministry of Industry – and not Iraq nor any other political

subdivision, agency or instrumentality of Iraq – was: (1) the sole and exclusive Iraqi party

to the contract, (2) the sole and exclusive Iraqi party to the arbitration proceeding for

breach of contract brought by Servaas before the International Chamber of Commerce

(ICC) in Paris France in accordance with the arbitration clause of the contract; (3) the

sole and exclusive Iraqi party to the French court proceeding initiated by Servaas arising

from the arbitration by which Servaas obtained a provisional money judgment and French

court seizure order against only the Ministry of Industry; and (4) the sole and exclusive




                                             -2-
Case 1:09-cv-01862-RMB-RLE            Document 11        Filed 08/03/09      Page 10 of 38




Iraqi party to the subsequent French court proceedings by which the Ministry of Industry,

in its own name and of its own right, sought to overturn the previous French court rulings

against the Ministry of Industry and return the case to arbitration before the ICC. Simply

stated, because there exists no French court judgment against Iraq, the Complaint fails to

state any claim upon which this Court can grant any relief against Iraq. Accordingly, the

Complaint must be dismissed with prejudice as to Iraq, and without leave to amend.

Fed.R.Civ.P. 12(b)(6).

       3.      ABSENCE OF SUBJECT MATTER AND IN PERSONAM
               JURISDICTION OVER IRAQI SOVEREIGN DEFENDANTS:
               FAILURE TO PLEAD LEGALLY-SUFFICIENT FACTS TO
               ESTABLISH PRIMA FACIE CLAIM OF FSIA “COMMERCIAL
               ACTIVITIES” EXCEPTION TO THE FOREIGN SOVEREIGN
               IMMUNITY OF EACH IRAQI SOVEREIGN DEFENDANT
               (Fed.R.Civ.P. 12(b)(1)-(2))

       As a third issue, Plaintiff Servaas attempts to plead around these irremediable

fatal defects by making a threadbare, conclusory jurisdictional allegation that subject

matter and in personam jurisdiction under the FSIA jurisdiction exists because “the

judgment to be recognized and enforced was based upon Defendants’ commercial

activity which caused a direct effect in the United States.” Complaint at ¶ 4. Under

Federal Rule of Civil Procedure 8(a)(2), a complaint must contain a “short and plain

statement of the claim showing that the pleader is entitled to relief. Plaintiff’s Complaint

fails to meet these standards; the Complaint is insufficient under the pleading standards

established the Supreme Court because the Complaint does nothing more than tender

“‘naked assertions’ devoid of ‘further factual enhancement’”. Ashcroft v. Iqbal, 129

S.Ct. 1937, 1949 (2009), quoting Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 557

(2007). The Complaint – read as a whole (including the numbered paragraphs, the pray




                                            -3-
Case 1:09-cv-01862-RMB-RLE            Document 11        Filed 08/03/09       Page 11 of 38




for relief or the French court judgments that are incorporated into the Complaint by

reference) is devoid of such “factual enhancement”, and, thus, fails to satisfies the

Twombly and Iqbal requirement that plaintiff must make sufficient factual allegations to

support a jurisdictional claim that the conduct of either or both Iraqi Sovereign

Defendant(s) brings either or both Iraqi Sovereign Defendant(s) within the commercial

activities exception to foreign sovereign immunity. Therefore, this action cannot go

forward. The Complaint must be dismissed on this separate and independent ground.

Fed.R.Civ.P. 12(b)(1) and (2).

       This fatal defect is so clearly and convincingly evident that not more need be said

about this, nor will be said, here or in the discussion and argument below.

       4.      IRAQI ASSETS IN THE UNITED STATES COVERED BY U.N.
               SECURITY COUNCIL RESOLUTIONS AND EXECUTIVE
               ORDER 13364 ARE IMMUNE AGAINST ANY ATTACHMENT,
               JUDGMENT, DECREE, LIEN, EXECUTION, GARNISHMENT OR
               OTHER JUDICIAL PROCESS. ACCORDINGLY, AS TO ANY
               SUCH ASSETS, THE COMPLAINT MUST BE DISMISSED FOR
               FAILING TO STATE A CLAIM UPON WHICH RELIEF MAY BE
               GRANTED. (Fed.R.Civ.P. 12(b)(6))

       As a fourth and independent grounds for dismissal (and wholly separate and aside

from applicable immunities provided to the Iraqi Sovereign Defendants under the FSIA),

the Complaint fails to state a claim upon which relief can be based because plaintiff seeks

to enforce the French judgment against assets of Iraq, its political subdivisions, agencies

and instrumentalities in the United States that two Presidents of the United States,

Presidents Bush and Obama, -- acting by the authority vested in the President by the

Constitution, and the laws of the United States, including the United Nations

Participation Act, as amended, 22 U.S.C. § 287c (UNPA), and the International

Emergency Economic Powers Act (IEEPA), 50 United States Code §§ 1701-1706 –



                                             -4-
Case 1:09-cv-01862-RMB-RLE            Document 11       Filed 08/03/09      Page 12 of 38




provides immunity for Iraqi Assets covered by Executive Order 13364 of 29 November

2004, “Modifying the Protection Granted to the Development Fund for Iraq and Certain

Property in Which Iraq Has an Interest and Protecting the Central Bank of Iraq”, 69 Fed.

Reg. 70177-8. Executive Order 13364 immunizes all such Iraqi assets ”against any

attachment, judgment, decree, lien, execution, garnishment or other judicial process” of

any U.S. Court.

       Thus, any “attachment, judgment, decree, lien, execution, garnishment, or other

judicial process” involving any Iraqi assets covered by Executive Order 13364 of

November 29, 2004 is prohibited and, if issued, shall be void as a matter of law.

Accordingly, the Complaint fails to state a claim upon which relief may be granted as

against such assets, and, therefore, pursuant to Fed.R.Civ.P. 12(b)(6), the Complaint must

be dismissed with prejudice to the extent that plaintiff seeks a judgment against any Iraqi

assets that come within the scope of E.O. 13364.

       5.      TO THE EXTENT THE COMPLAINT SEEKS ATTACHMENT OR
               EXECUTION AGAINST ASSETS OF THE IRAQI SOVEREIGN
               DEFENDANTS THAT ARE IMMUNE FROM ATTACHMENT OR
               EXECUTION UNDER FOREIGN SOVEREIGN IMMUNITIES
               ACT §§ 1610 AND 1611, THE COMPLAINT FAILS TO STATE A
               CLAIM UPON WHICH RELIEF MAY BE GRANTED AND
               THEREFORE MUST BE DISMISSED. (Fed.R.Civ.P. 12(b)(6))

       As a fifth and independent grounds for dismissal, the Complaint also fails to state

a claim upon which relief may be granted, and must be dismissed, because the Complaint

does not identify any assets of the Ministry of Industry or Iraq that are not immune under

either FSIA §§ 1610 and 1611, 28 U.S.C. §§ 1610-1611.

       FSIA § 1610 provides certain exceptions to immunity of the assets for a foreign

sovereign from attachment or execution. FSIA § 1611 expressly provides that those




                                            -5-
Case 1:09-cv-01862-RMB-RLE            Document 11        Filed 08/03/09      Page 13 of 38




certain types of assets of a foreign sovereign identified in FSIA § 1611 are immune from

attachment and from execution.

        The Complaint does not identify any assets of any of the Iraqi Sovereign

Defendants that are not immune under FSIA §§ 1610 and 1611. Accordingly, without

waiving any jurisdictional defenses that exist under either the FSIA or otherwise, each of

the Iraqi Sovereign Defendants invoke the immunities provided by FSIA §§ 1610 and

1611.

        In light of Iraqi Sovereign Defendants’ invocation of such immunities, the

Complaint must be dismissed pursuant to Fed.R.Civ.P. 12(b)(6) for failure to state a

claim upon which relief may be granted as to all such immune assets.

II.     APPLICABLE LAW

        The following standards of review and rules of decision apply to the Court’s

determination of Republic of Iraq’s motion to dismiss, and, in the alternative, for

summary judgment.

A.      Motion to Dismiss for Lack of Subject Matter and In Personam Jurisdiction
        Under FSIA (Fed. R. Civ. P. 12(b)(1)-(2))

        “A case is properly dismissed for lack of subject matter jurisdiction under Rule

12(b)(1) when the district court lacks the statutory or constitutional power to adjudicate

it.” Makarova v. United States, 201 F.3d 110, 113 (2d Cir.2000). And, a case is properly

dismissed for lack of in personam jurisdiction under Rule 12(b)(2).

        A district court may refer to evidence outside the pleadings in resolving a Rule

12(b)(1) motion. Id. The party asserting jurisdiction has the burden of “showing by a

preponderance of the evidence that subject matter jurisdiction exists,” and that showing

“is not made by drawing from the pleadings inferences favorable to [that party].” APWU



                                            -6-
Case 1:09-cv-01862-RMB-RLE              Document 11        Filed 08/03/09       Page 14 of 38




v. Potter, 343 F.3d 619, 623 (2d Cir.2003) (internal citations and quotation marks

omitted).

        The FSIA ... provides the sole basis for obtaining [subject matter] jurisdiction

over a foreign sovereign in the United States.” Virtual Countries, Inc. v. Republic of

South Africa, 300 F.3d 230, 236 (2d Cir.2002) (alterations in original) (quoting Republic

of Argentina v. Weltover, Inc., 504 U.S. 607, 611, 112 S.Ct. 2160, 119 L.Ed.2d 394

(1992)). Under the FSIA, a foreign state is immune from the jurisdiction of the courts of

the United States except as provided in 28 U.S.C. §§ 1605 to 1607. 28 U.S.C.A. § 1604

(West 1994). “Once the [party against which claims or counterclaims are asserted]

presents a prima facie case that it is a foreign sovereign, the [party asserting the claims]

has the burden of going forward with evidence showing that, under [the statutory]

exceptions to the FSIA, immunity should not be granted[.]” Cabiri v. Government of the

Republic of Ghana, 165 F.3d 193, 196 (2d Cir.1999).

        Section 1330(a) of Title 28 provides that federal district courts shall have original

jurisdiction without regard to amount in controversy of any nonjury civil action against a

foreign state as defined in section 1603(a) of this title as to any claim for relief in

personam with respect to which the foreign state is not entitled to immunity either under

sections 1605-1607 of this title or under any applicable international agreement.

        It is also well settled that personal jurisdiction under the FSIA equals subject

matter jurisdiction plus a valid service of process. Reiss v. Societe Centrale Du Groupe

Des Assurances Nationales, 235 F.3d 738, 48 Fed. R. Serv. 3d 382 (2d Cir. 2000); Rein v.

Socialist People’s Libyan Arab Jamahiriya, 995 F. Supp. 325 (E.D.N.Y. 1988), aff’d in

part, dismissed in part on other grounds, 162 F.3d 748 (2d Cir. 1998); Coleman v.




                                              -7-
Case 1:09-cv-01862-RMB-RLE             Document 11        Filed 08/03/09      Page 15 of 38




Alcolac, Inc. 888 F. Supp. 1388 (S.D. Tex. 1995). Thus under the FSIA, personal

jurisdiction over a foreign sovereign defendant hinges not on the foreign state's contact

with the United States but rather on whether the court has subject matter jurisdiction over

the claim. Southway v. Central Bank of Nigeria, 994 F. Supp. 1299 (D. Colo. 1998), aff’d

and remanded, 198 F.23d 1210 (10th Cir. 1999); Gibbons v. Udaras na Gaeltachta, 549

F. Supp. 1094, S(.D.N.Y. 1982).

B.     Motion to Dismiss for Failure to State a Claim Upon Which Relief May be
       Granted (Fed. R. Civ. P. 12(b)(6))

       In deciding a Rule 12(b)(6) motion, the Court must read the complaint

generously, accepting as true the factual allegations in the complaint and drawing all

reasonable inferences in favor of the plaintiff. Bolt Elec., Inc. v. City of New York, 53

F.3d 465, 469 (2d Cir.1995); Mills v. Polar Molecule Corp., 12 F.3d 1170, 1174 (2d

Cir.1993). Dismissal is only proper when “it appears beyond doubt that plaintiff can

prove no set of facts in support of his claim which would entitle him to relief.” Chance v.

Armstrong, 143 F.3d 698, 701 (2d Cir.1998) (citing Conley v. Gibson, 355 U.S. 41, 45-

46, 78 S.Ct. 99, 2 L.Ed.2d 80 (1957)). Because a Rule 12(b)(6) motion is used to assess

the legal feasibility of a complaint, a court should not “assay the weight of the evidence

which might be offered in support thereof.” Ryder v. Energy Distribution Corp. v. Merrill

Lynch Commodities, Inc., 748 F.2d 774, 779 (2d Cir.1984). Rather, the court must limit

its consideration to the facts that appear on the face of the complaint. Id.; Brass v.

American Film Technologies, Inc., 987 F.2d 142, 150 (2d Cir.1993).

       However, when matters outside the pleading are presented to and not excluded by

the court, the motion shall be treated as one for summary judgment and disposed of as

provided in Fed. R. Civ. P. 56, and all parties shall be given reasonable opportunity to



                                             -8-
Case 1:09-cv-01862-RMB-RLE             Document 11        Filed 08/03/09      Page 16 of 38




present all material made pertinent to such a motion by Rule 56. See Fed. R. Civ. P.

12(b).

III.     ARGUMENT

A.       The Court Lacks Subject Matter and In Personam Jurisdiction Over the
         Iraqi Sovereign Defendants Because Neither Defendant Has Waived
         Sovereign Immunity as to Any Action in Any U.S. Court

1.       NO DIVERSITY JURISDICTION EXISTS OVER THE IRAQI
         SOVEREIGN DEFENDANTS

                Plaintiff erroneously alleges that the Court “has original jurisdiction over

the subject matter of this action “pursuant to 28 U.S.C. § 1332 because there is complete

diversity between the parties and the amount in controversy exceeds $75,000 exclusive of

interests and costs.” The Court should summarily dispose of plaintiff’s invitation to clear

error. 28 U.S.C. § 1332 provides no basis for jurisdiction for a U.S. court to exercise any

jurisdiction over a foreign sovereign. As noted above:

         The FSIA ... provides the sole basis for obtaining [subject matter] jurisdiction
         over a foreign sovereign in the United States.” Virtual Countries, Inc. v. Republic
         of South Africa, 300 F.3d 230, 236 (2d Cir.2002) (alterations in original) (quoting
         Republic of Argentina v. Weltover, Inc., 504 U.S. 607, 611, 112 S.Ct. 2160, 119
         L.Ed.2d 394 (1992)). Under the FSIA, a foreign state is immune from the
         jurisdiction of the courts of the United States except as provided in 28 U.S.C. §§
         1605 to 1607. 28 U.S.C.A. § 1604 (West 1994).

2.       NO SUBJECT MATTER OR PERSONAL JURISDICTION EXISTS
         UNDER THE FSIA AS TO ANY IRAQI SOVEREIGN DEFENDANT;
         NEITHER IRAQI SOVEREIGN DEFENDANT HAS WAIVED
         SOVEREIGN IMMUNITY AS TO ANY ACTION THAT MIGHT BE
         BROUGHT IN A U.S. COURT BY PLAINTIFF SERVAAS

         Plaintiff Servaas’ claim of Federal court FSIA jurisdiction over the Iraqi

Sovereign Defendants is belied by the following judicial admissions in the Complaint,

facts set forth in this Memorandum of Law of which the Court properly may take judicial

notice, and well-established principles of law:



                                             -9-
Case 1:09-cv-01862-RMB-RLE            Document 11        Filed 08/03/09      Page 17 of 38




       ●       On or about 8 August 1989, the Ministry of Industry entered into a

defense/military and/or commercial contract with Servaas, but did so only in its own

name, and on its own behalf, and not in the name of or on behalf of Iraq or any other

political subdivision, agency or instrumentality of Iraq (hereinafter, the “Contract”). See

Complaint Exhibit 1 (Paris Commercial Court Summary Order as of April 16, 1991) and

Exhibit 2 (English translation, Paris Commercial Court Summary Order as of April 16,

1991, p.2).

       ●       On the date that Servaas and the Ministry of Industry entered into contract

(and continuing through the present) it was known by the Government of Iraq (and such

knowledge thus includes the knowledge of the political subdivisions of Iraq, inclusive of

the Ministry of Industry) that: (a) Iraq was not then and is not now a Contracting Party to

the Convention on the Recognition and Enforcement of Foreign Arbitral Awards of 1958

(the “New York Convention”); and (b) the United States is a Contracting Party to the

New York Convention. See United Nations Commission on International Trade, Status,

1958 – Convention on the Recognition and Enforcement of Arbitral Awards (appended as

Exhibit 1 to this Memorandum) (found at and reprinted from:

http://www.uncitral.org/uncitral/en/uncitral_texts/arbitration/NYConvention_status.html).

       ●       Thus, in light of Iraq’s status as a foreign sovereign not a Contracting

Party to the New York Convention, it follows as a matter of law that the Ministry of

Industry, by agreeing to an arbitration provision in the Contract that provides for

arbitration of disputes before the International Chamber of Commerce, Paris, France

(“ICC”), did not waive the foreign sovereign immunity of the Ministry of Industry as to

any legal actions or claims conceivably could be brought in any United States court




                                            -10-
Case 1:09-cv-01862-RMB-RLE             Document 11        Filed 08/03/09      Page 18 of 38




arising from the contract (inclusive of any claim to enforce an ICC arbitration award or

any French court judgment arising out of or relating to arbitration claims made by

Servaas. See Seetransport Wiking Trader Schiffarhtsgesellschaft MBH & Co.,

Kommanditgesellschaft v. Navimpex, 989 F.2d 572, 576 (2d Cir. 1993) (FSIA applies; a

foreign sovereign and its political subdivisions, agencies and instrumentalities enjoy

sovereign immunity unless conduct falls within one of the statutory exceptions to

sovereign immunity; federal courts have been virtually unanimous in holding that the

implied waiver provision of [FSIA] Section 1605(a)(1) must be construed narrowly.”

Shapiro v. Republic of Bolivia, 930 F.2d 1013, 1017 (2d Cir.1991) (citations omitted);

“courts within this [2d] Circuit have noted that if the language of the legislative history

was applied literally, a foreign government would be subject to the United States's

jurisdiction simply because it agreed to have the contract governed by another country's

laws, or agreed to arbitrate in a country other than itself, even though the agreement made

no reference to the United States. Such an interpretation of § 1605(a)(1)’s “implicit

waiver” exception would vastly increase the jurisdiction of the federal courts over matters

involving sensitive foreign relations. Seetransport, 989 F.2d 577, citing Maritime

Ventures Int’l Inc. v. Carribean Trading & Fidelity Ltd., 689 F.Supp. 1340, 1351

(S.D.N.Y., 1988); Verlindin B.V. v. Central Bank of Nigeria,, 488 F.Supp, 1284, 1302

(S.D.N.Y. 1980) (Weinfeld, J., aff’d on other grounds, 647 F.2d 320 (2d Cir. 1981), rev’d

461 U.S. 480, 103 S.Ct. 1962 (1983); consequently, courts within this [2d] Circuit have

concluded that sovereign immunity is not waived in the courts of this country simply

because a sovereign entered into a contract that named a third country for arbitration or

designated the laws of a third nation to govern the interpretation of the contract. See, e.g.,




                                             -11-
Case 1:09-cv-01862-RMB-RLE            Document 11        Filed 08/03/09      Page 19 of 38




Maritime Ventures Int’l Inc., 689 F.Supp. at 1351; Verlindin, 488 F.Supp. at 1300-02;

unlike the Ministry of Industry and Iraq, a foreign sovereign that has become a

Contracting State to the New York Convention has waived sovereign immunity for itself,

its political subdivisions, agencies and instrumentalities for enforcement in U.S. courts of

foreign arbitral awards and judgments of foreign courts arising out of claims brought to

the ICC for arbitration, see Seetransport, 989 F.2d 578. Thus, the reverse applies as well:

as a consequence of Iraq not being a Contracting Party to the 1958 New York

Convention, neither the Ministry of Industry of Iraq has waived such sovereign

immunity).

       ●       As the sole Iraqi party to the Contract, only the Ministry of Industry (and

not Iraq or any other political subdivision, agency or instrumentality of Iraq) agreed to

the arbitration provision of the Contract (the “Arbitration Provision”) providing that any

Servaas contract-related claims must be brought to arbitration before the ICC. See

Complaint Exhibit 1 (Paris Commercial Court Summary Order as of April 16, 1991) and

Exhibit 2 (English translation, Paris Commercial Court Summary Order as of April 16,

1991, p.2).

       ●       As a matter of international law, the Arbitration Provision constituted

strictly and only a limited waiver of only the Ministry of Industry’s sovereign immunity,

and then only to the following scope and effect:

       (a)     Only the Ministry of Industry is not immune from contract-related claims

made by Servaas if those claims are presented by Servaas to the ICC pursuant to the

Arbitration Provision (a non-party cannot be bound by an arbitration award unless it

clearly and unambiguously demonstrates an intent to arbitrate the submitted dispute. see




                                            -12-
Case 1:09-cv-01862-RMB-RLE            Document 11        Filed 08/03/09      Page 20 of 38




Gvozdenovic v. United Air Lines, Inc., 933 F.2d 1100, 1105 (2d Cir.1991); Chios Charm

Shipping Co. V. Rionda, 93 Civ. 6313(SS), 1994 WL 132141, at *3 (S.D.N.Y.1994).

       (b)     The Ministry of Industry is subject to judicial proceedings brought by

Servaas in France only, but only to the extent that such French judicial proceedings

arising from the rights accorded by the Arbitration Clause – inclusive of the right of a

French court to award and assist in the recovery of money arising from an arbitration

claim made by Servaas pursuant to the arbitration clause of the contract, as to France

only. See Seetransport 989 F.2d 576, 578 and authorities cited above in relation thereto.

       (c)     The Ministry of Industry’s waiver of sovereign immunity through the

Arbitration Clause does not constitute either an express or implied waiver of the Ministry

of Industry’s sovereign immunity, or the sovereign immunity of Iraq or any other

political subdivision, agency or instrumentality of Iraq, as to any legal actions whatsoever

that Servaas might bring in U.S. courts to assist or aid in the enforcement of an ICC

arbitration award or a French court money judgment against the Ministry of Industry

arising out of an arbitration claim. See Seetransport 989 F.2d 576, 578 and authorities

cited above in relation thereto.

       ●       Following the former Saddam Regime’s invasion of Kuwait, Servaas

terminated the Contract by notice made to the Ministry of Industry and made demand to

the Ministry of Industry under the provisions of the Contract (which was acknowledged

by the Ministry of Industry) for payment of the termination amount of $14,152,800.

Servaas subsequently alleged that the Ministry of Industry (the sole Iraqi party to the

Contract) breached the contract by failing to make payments that Servaas asserted came

due under the Contract. See Complaint Exhibit 1 (Paris Commercial Court Summary




                                            -13-
Case 1:09-cv-01862-RMB-RLE             Document 11        Filed 08/03/09      Page 21 of 38




Order as of April 16, 1991) and Complaint Exhibit 2 (English translation, Paris

Commercial Court Summary Order as of April 16, 1991, pp.3-4).

       ●       Servaas commenced arbitration before the International Chamber of

Commerce (“ICC”) in Paris, France, pursuant to the Arbitration Provision, only against

the Ministry of Industry, as the sole party to the contract, pursuant to Arbitration

Provision. See Complaint Exhibit 1 (Paris Commercial Court Summary Order as of April

16, 1991) and Complaint Exhibit 2 (English translation, Paris Commercial Court

Summary Order as of April 16, 1991, pp. 1-4).

       ●       When the Ministry of Industry failed to name an arbitrator within the time

required by the ICC rules of arbitration, Servaas commenced a French court action in the

Paris Commercial Court seeking a provisional money judgment and enforcement order

only against the Ministry of Industry, in aid of arbitration and enforcement of the rights

accorded by the Arbitration Provision. The Ministry of Industry did not appear in that

action, explaining later that it was unable to do so owing to the aftermath of the first Gulf

War. On 16 April 1991, the Paris Commercial Court entered a provisional money

judgment in the amount of $14,152,800, and a “freezing order”. See Complaint Exhibit 1

(Paris Commercial Court Summary Order as of April 16, 1991) and Complaint Exhibit 2

(English translation, Paris Commercial Court Summary Order as of April 16, 1991, pp. 1-

6).    ●       Subsequently, the Ministry of Industry – and not Iraq or any other political

subdivision, agency or instrumentality of Iraq – took appeals to the Paris Commercial

Court and the Paris Court of Appeals solely and exclusively in its own name and on its

own behalf, and not in the name of Iraq or any other political subdivision, agency or

instrumentality of Iraq. See Complaint Exhibits 3-6.




                                            -14-
Case 1:09-cv-01862-RMB-RLE             Document 11        Filed 08/03/09       Page 22 of 38




       Under these facts and principles of international law, it is clear that neither the

Ministry of Industry nor Iraq waived sovereign immunity as to any action that might be

commenced in a U.S. Court.

       In light of the foregoing, the Complaint must be dismissed with prejudice for

absence of FSIA subject matter and personal jurisdiction.

B.     No Legally Cognizable Claim Exists Against Iraq as to Enforcement of the
       French Money Judgment Entered Against the Ministry of Industry; Iraq
       Was Not a Party to Either the Arbitration, the Legal Action Against the
       Ministry of Industry, or the Money Judgment Entered Against the Ministry
       of Industry (Fed.R.Civ.P. 12(b)(6))

       As set forth above in the citations to the judicial admissions made by plaintiff in

the Complain, Iraq: (1) was not a party to the contract; (2) was not a party to the ICC

arbitration; and (3) was not a party to any of the French judicial actions; and (4)

accordingly, was not a party to the French court judgment.

       The law here is clear: a non-party cannot be bound by an arbitration award unless

it clearly and unambiguously demonstrates an intent to arbitrate the submitted dispute.

See Gvozdenovic v. United Air lines, Inc., 933 F.2d 1105; Chios Charm Shipping v.

Rionda, 93 Civ. 6313 (SS), 1994 WL 132141, at *3 (S.D.N.Y 1994). And: “It is a

violation of due process for a judgment to be binding on a litigant who was not a party or

a privy and therefore has never had an opportunity to be heard.” Parklane Hosiery, 439

U.S. 322, 327, n.7, 99 S.Ct. 645 (1979); Restatement (Second) of Judgments § 29

Reporter’s Note (“The proposition that a non-party cannot be found by a judgment,

unless he is represented by a party or has interests that are derivative from a party, is a

rule of Constitutional law.”). And, while the Due Process Clause of the Fifth

Amendment does not apply to the Ministry of Industry or Iraq, the procedural protections




                                             -15-
Case 1:09-cv-01862-RMB-RLE             Document 11        Filed 08/03/09      Page 23 of 38




afforded to private parties in the res judicata and collateral estoppel context certainly

would apply to a government. See United States v. Stauffer Chem. Co., 464 U.S. 165,

170 (1984).

       Accordingly the Complaint against Iraq must be dismissed.

C.     The Complaint Fails to Plead Legally-Sufficient Facts to Establish a Prima
       Facie Claim to Subject Matter and Personal Jurisdiction Over the Iraqi
       Sovereign Defendants Under the FSIA “Commercial Activities” Exception to
       Foreign Sovereign Immunity (Fed.R.Civ.P. 12(b)(1)-(2))

       As fully covered in the summary of grounds for dismiss in Section I, infra, no

more need be said: the Complaint is fatally defective on this ground, and, therefore, must

be dismissed in its entirety for want of FSIA subject matter and personal jurisdiction over

both Iraqi Sovereign Defendants.

D.     Iraqi Assets in the United States Are Immunized Against Attachment and
       Execution by U.N. Security Council Resolutions and by Executive Order
       13364 that Prohibits and Makes Void Any U.S. Court Attachment,
       Judgment, Decree, Lien, Execution, Garnishment or Other Judicial Process
       Against Such Assets. Thus, the Complaint Must Be Dismissed for Failure to
       State a Claim Upon Which Relief May be Granted. (Fed.R.Civ.P. 12(b)(6))

       As a fourth and independent grounds for dismissal (and wholly separate and aside

from applicable immunities provided to the Iraqi Sovereign Defendants under the FSIA),

the Complaint fails to state a claim upon which relief can be based because plaintiff seeks

to enforce the French judgment against assets of Iraq, its political subdivisions, agencies

and instrumentalities in the United States that two Presidents of the United States,

Presidents Bush and Obama, -- acting by the authority vested in the President by the

Constitution, and the laws of the United States, including the United Nations

Participation Act, as amended, 22 U.S.C. § 287c (UNPA), and the International

Emergency Economic Powers Act (IEEPA), 50 United States Code §§ 1701-1706 –




                                            -16-
Case 1:09-cv-01862-RMB-RLE             Document 11       Filed 08/03/09      Page 24 of 38




provides immunity for Iraqi Assets covered by Executive Order 13364 against any

attachment, judgment, decree, lien, execution, garnishment or other judicial process of

any U.S. Court. protection against attachment and execution for Iraqi assets that plaintiff

seeks to execute against pursuant to the judgment that plaintiff has requested from this

court.

         On May 22, 2003, at the instigation of members United States and the United

Kingdom, the U.N. Security Council passed UN Security Council Resolution 1483,

(S/RES 1483 (2003) to, among other things, provide protections and immunities

throughout the world for Iraqi assets, as follows:

         The Security Council, . . . [a]cting under Chapter VII of the Charter of the United
         Nations,

                                         *          *      *

         20.     Decides that all export sales of petroleum, petroleum products, and natural
         gas from Iraq following the date of the adoption of this resolution shall be made
         consistent with prevailing international market best practices, to be audited by
         independent public accountants reporting to the International Advisory and
         Monitoring Board referred to in paragraph 12 above in order to ensure
         transparency, and decides further that, except as provided in paragraph 21 below,
         all proceeds from such sales shall be deposited into the Development Fund for
         Iraq until such time as an internationally recognized, representative government
         of Iraq is properly constituted;

                                           *        *         *
         22.     Noting the relevance of the establishment of an internationally recognized,
         representative government of Iraq and the desirability of prompt completion of
         the restructuring of Iraq’s debt as referred to in paragraph 15 above, further
         decides that, until December 31, 2007, unless the Council decides otherwise,
         petroleum, petroleum products, and natural gas originating in Iraq shall be
         immune, until title passes to the initial purchaser from legal proceedings
         against them and not be subject to any form of attachment, garnishment, or
         execution, and that all States shall take any steps that may be necessary
         under their respective domestic legal systems to assure this protection, and
         that proceeds and obligations arising from sales thereof, as well as the
         Development Fund for Iraq, shall enjoy privileges and immunities equivalent
         to those enjoyed by the United Nations except that the abovementioned



                                             -17-
Case 1:09-cv-01862-RMB-RLE            Document 11        Filed 08/03/09      Page 25 of 38




       privileges and immunities will not apply with respect to any legal proceeding
       in which recourse to such proceeds or obligations is necessary to satisfy
       liability for damages assessed in connection with an ecological accident,
       including an oil spill, that occurs after the date of adoption of this resolution;

       23.      Decides that all Member States in which there are:
                (a)    funds or other financial assets or economic resources of the
       previous Government of Iraq or its state bodies, corporations, or agencies, located
       outside Iraq as of the date of this resolution, or
                (b)    funds or other financial assets or economic resources that have
       been removed from Iraq, or acquired, by Saddam Hussein or other senior officials
       of the former Iraqi regime and their immediate family members, including entities
       owned or controlled, directly or indirectly, by them or by persons acting on their
       behalf or at their direction, shall freeze without delay those funds or other
       financial assets or economic resources and, unless these funds or other financial
       assets or economic resources are themselves the subject of a prior judicial,
       administrative, or arbitral lien or judgment, immediately shall cause their transfer
       to the Development Fund for Iraq, it being understood that, unless otherwise
       addressed, claims made by private individuals or non-government entities on
       those transferred funds or other financial assets may be presented to the
       internationally recognized, representative government of Iraq; and decides further
       that all such funds or other financial assets or economic resources shall enjoy the
       same privileges, immunities, and protections as provided under paragraph 22 . . ..

S/RES 1483 (2003) at ¶¶ 20, 22-23 (appended as Exhibit 2 to this Memorandum of Law).

       Immediately thereafter on May 22, 2003, by Executive Order 13303, President

Bush declared a national emergency protecting the Iraqi Assets International Emergency

Economic Powers Act (50 U.S.C. 1701–1706) (IEEPA). The President took this action

“to deal with the unusual and extraordinary threat to the national security and foreign

policy of the United States posed by obstacles to the orderly reconstruction of Iraq, the

restoration and maintenance of peace and security in the country, and the development of

political, administrative, and economic institutions in Iraq.” See E.O. 13303, “Protecting

the Development Fund for Iraq and Certain Property in Which Iraq Has an Interest”, 68

Fed. Reg. 31931-2 (May 29, 2003), appended as Exhibit 3 to this Memorandum of Law.




                                            -18-
Case 1:09-cv-01862-RMB-RLE            Document 11       Filed 08/03/09      Page 26 of 38




       In Executive Order 13315 of August 28, 2003, Executive Order 13350 of July 29,

2004, Executive Order 13364 of November 29, 2004, Executive Order 13438 of July 17,

2007 President Bush modified the scope of the national emergency declared in Executive

Order 13303 and amended the steps taken pursuant to it.

       The President’s Executive Order 13364 of 29 November 2004 provided

protections for Iraqi Assets as follows:

       I find that the threat of attachment or other judicial process against the Central
       Bank of Iraq constitutes one of these obstacles. I further determine that, consistent
       with United Nations Security Council Resolutions 1483 of May 22, 2003, and
       1546 of June 8, 2004, the steps taken in Executive Order 13303 to deal with the
       national emergency declared therein need to be limited so that such steps do not
       apply with respect to any final judgment arising out of a contractual obligation
       entered into by the Government of Iraq, including any agency or instrumentality
       thereof, after June 30, 2004, and so that, with respect to Iraqi petroleum and
       petroleum products and interests therein, such steps shall apply only until title
       passes to the initial purchaser.


       ‘‘Section 1. (a) Except as provided in section 1(b) of this order, and unless
       licensed or otherwise authorized pursuant to this order, any attachment,
       judgment, decree, lien, execution, garnishment, or other judicial process is
       prohibited and shall be deemed null and void with respect to the following:
               (i)     the Development Fund for Iraq;
               (ii)    all Iraqi petroleum and petroleum products, and interests
       therein, but only until title passes to the initial purchaser, and proceeds,
       obligations, or any financial instruments of any nature whatsoever arising
       from or related to the sale or marketing thereof, and interests therein, in
       which any foreign country or a national thereof has any interest, that are in
       the United States, that hereafter come within the United States, or that are or
       hereafter come within the possession or control of United States persons; and
               (iii) any accounts, assets, investments, or any other property of any
       kind owned by, belonging to, or held by the Central Bank of Iraq, or held,
       maintained, or otherwise controlled by any financial institution of any kind
       in the name of, on behalf of, or otherwise for the Central Bank of Iraq.
               (b)     The prohibition in section 1(a) of this order shall not apply with
       respect to any final judgment arising out of a contractual obligation entered into
       by the Government of Iraq, including any agency or instrumentality thereof, after
       June 30, 2004.




                                           -19-
Case 1:09-cv-01862-RMB-RLE           Document 11        Filed 08/03/09      Page 27 of 38




Executive Order 13364 of 29 November 2004, “Modifying the Protection Granted to the

Development Fund for Iraq and Certain Property in Which Iraq Has an Interest and

Protecting the Central Bank of Iraq”, 69 Fed. Reg. 70177-8 (appended as Exhibit 4 to

this Memorandum of Law).

       On May 18, 2008, the President determined that the obstacles to the orderly

reconstruction of Iraq, the restoration and maintenance of peace and security in the

country, and the development of political, administrative, and economic institutions in

Iraq continue to pose an unusual and extraordinary threat to the national security and

foreign policy of the United States and declared that the national emergency declared on

May 22, 2003, and the measures adopted on that date, August 28, 2003, July 29, 2004,

November 29, 2004, and July 17, 2007, to deal with that emergency must continue in

effect beyond May 22, 2008, through May 21, 2009. See Presidential Notice of May 20,

2008—Continuation of the National Emergency with Respect to the Stabilization of

Iraq”, 73 Fed. Reg. 26983-4 (May 21, 2008) (appended as Exhibit 5 to this Memorandum

of Law).

       On December 22, 2008, UN Security Council adopted UN Security Council

Resolution 1859 (S/RES/1859 (2008) that extended through December 21, 2009, the

protections for Iraqi assets in the Development Fund for Iraq that previously were

established by paragraph 20 of Security Council Resolution 1483 (2003):

       The Security Council, [a]cting under Chapter VII of the Charter of the United
       Nations,

       1.      Decides to extend until 31 December 2009 the arrangements established in
       paragraph 20 of resolution 1483 (2003) for the depositing into the Development
       Fund for Iraq of proceeds from export sales of petroleum, petroleum products and
       natural gas and the arrangements referred to in paragraph 12 of resolution 1483
       (2003) and paragraph 24 of resolution 1546 (2004) for the monitoring of the



                                           -20-
Case 1:09-cv-01862-RMB-RLE           Document 11        Filed 08/03/09      Page 28 of 38




       Development Fund for Iraq by the International Advisory and Monitoring Board
       and further decides that, subject to the exception provided for in paragraph 27 of
       resolution 1546 (2004), the provisions of paragraph 22 of resolution 1483 (2003)
       shall continue to apply until that date, including with respect to funds and
       financial assets and economic resources described in paragraph 23 of that
       resolution. . ..


See S/RES 1859 (2008) at ¶ 1 (Appended as Exhibit 6 to this Memorandum of Law).

       On May 19, 2009, President Obama issues a Presidential Notice “Continuation of

the National Emergency with Respect to the Stabilization of Iraq” “continuing for 1 year

the national emergency with respect to the stabilization of Iraq”, through May 21, 2010,

providing as follows:

       On May 22, 2003, by Executive Order 13303, the President declared a national
       emergency protecting the Development Fund for Iraq and certain other property
       in which Iraq has an interest, pursuant to the International Emergency Economic
       Powers Act (50 U.S.C. 1701–1706). The President took this action to deal with
       the unusual and extraordinary threat to the national security and foreign policy of
       the United States posed by obstacles to the orderly reconstruction of Iraq, the
       restoration and maintenance of peace and security in the country, and the
       development of political, administrative, and economic institutions in Iraq.

       In Executive Order 13315 of August 28, 2003, Executive Order 13350 of July 29,
       2004, Executive Order 13364 of November 29, 2004, and Executive Order 13438
       of July 17, 2007 [pertaining to blocked assets, and therefore not relevant to this
       action], the President modified the scope of the national emergency declared in
       Executive Order 13303 and amended the steps taken pursuant to it.

       Because the obstacles to the orderly reconstruction of Iraq, the restoration and
       maintenance of peace and security in the country, and the development of
       political, administrative, and economic institutions in Iraq continue to pose an
       unusual and extraordinary threat to the national security and foreign policy of the
       United States, the national emergency declared on May 22, 2003, and the
       measures adopted on that date, August 28, 2003, July 29, 2004, November 29,
       2004, and July 17, 2007, to deal with that emergency must continue in effect
       beyond May 22, 2009. Therefore, in accordance with section 202(d) of the
       National Emergencies Act (50 U.S.C. 1622(d)), I am continuing for 1 year the
       national emergency with respect to the stabilization of Iraq.




                                           -21-
Case 1:09-cv-01862-RMB-RLE            Document 11        Filed 08/03/09     Page 29 of 38




74 Fed. Reg. 23935 (May 21, 2009) (appended as Exhibit 7 to this Memorandum of

Law).

        Thus, any “attachment, judgment, decree, lien, execution, garnishment, or other

judicial process” involving any Iraqi assets covered by Executive Order 13364 of

November 29, 2004 is prohibited and, if issued, shall be void as a matter of law.

Accordingly, the Complaint fails to state a claim upon which relief may be granted as

against such assets, and, therefore, pursuant to Fed.R.Civ.P. 12(b)(6), the Complaint must

be dismissed with prejudice to the extent that plaintiff seeks a judgment against any Iraqi

assets that come within the scope of E.O. 13364.

E.      To the Extent the Complaint Seeks Attachment or Execution Against Assets
        of the Iraqi Sovereign Defendants That Are Immune from Attachment or
        Execution under FSIA §§ 1610 and 1611, the Complaint Must Be Dismissed
        for Failure to State a Claim Upon Which Relief May be Granted.
        (Fed.R.Civ.P. 12(b)(6))

        The sum and substance of this ground of dismissal has been sufficiently stated in

the summary of grounds for dismissal at Section I of this Memorandum, infra. It bears

repeating that to the extent that any assets of any of the Iraqi Sovereign Defendants are

present in the U.S. (which has not been established), assets for which immunity exists

under FSIA §§ 1610 and 1611 cannot be attached or executed upon by plaintiff.

        Thus, to the extent that plaintiff claims through the Complaint any entitlement to

attach or execute against such assets, the Complaint must be dismissed for failure to state

a claim upon which relief may be granted.




                                            -22-
Case 1:09-cv-01862-RMB-RLE            Document 11       Filed 08/03/09      Page 30 of 38




V.     CONCLUSION

       The Iraqi Sovereign Defendants respectfully urge the Court to find and rule that,

for the foregoing reasons, the Complaint shall be dismissed with prejudice as to all Iraqi

Sovereign Defendants.

Dated: August 3, 2009


Respectfully submitted,

                                      MAGGS & McDERMOTT LLC

                                      By:________/s/_Timothy B. Mills
                                            Timothy B. Mills (TM-8693)
                                            910 17th Street N.W., Suite 800
                                            Washington, D.C. 20006
                                            (202) 457-8090 Telephone
                                            (202) 478-5081 Facsimile

                                      Lead Counsel for Defendants
                                       the Ministry of Trade or the Republic of Iraq and
                                      the Republic of Iraq
                                      (Admission Pro Hac Vice Pending Presentation of
                                      Pro Hac Vice Motion)

                                      LAW OFFICES OF STEPHEN ALBRIGHT

                                      By:_________/s/ Stephen Albright
                                            Stephen Albright (SA-4979)
                                            368 Veterans Memorial Highway, 2nd Floor
                                            Commack, New York 11725
                                            (631) 864-4967 Telephone
                                            (631) 864-4972 Facsimile

                                      Co- Counsel for Defendants
                                       the Ministry of Trade or the Republic of Iraq and
                                      the Republic of Iraq




                                           -23-
Case 1:09-cv-01862-RMB-RLE     Document 11     Filed 08/03/09   Page 31 of 38




                                EXHIBIT 1

    TO IRAQI SOVEREIGN DEFENDANTS’ MEMORANDUM OF LAW IN
       SUPPORT OF THE MOTION TO DISMISS THE COMPLAINT:

           United Nations Commission on International Trade, Status
   1958 – Convention on the Recognition and Enforcement of Arbitral Awards




                                    -24-
Case 1:09-cv-01862-RMB-RLE     Document 11     Filed 08/03/09   Page 32 of 38




                                EXHIBIT 2

    TO IRAQI SOVEREIGN DEFENDANTS’ MEMORANDUM OF LAW IN
       SUPPORT OF THE MOTION TO DISMISS THE COMPLAINT:

                U.N. Security Council Resolution 1483 (2003)




                                    -25-
Case 1:09-cv-01862-RMB-RLE     Document 11     Filed 08/03/09   Page 33 of 38




                                EXHIBIT 3

    TO IRAQI SOVEREIGN DEFENDANTS’ MEMORANDUM OF LAW IN
       SUPPORT OF THE MOTION TO DISMISS THE COMPLAINT:

                            Executive Order 13303
       “Protecting the Development Fund for Iraq and Certain Property
                        in Which Iraq Has an Interest”
                     68 Fed. Reg. 31931-2 (May 29, 2003)




                                    -26-
Case 1:09-cv-01862-RMB-RLE       Document 11      Filed 08/03/09   Page 34 of 38




                                  EXHIBIT 4

    TO IRAQI SOVEREIGN DEFENDANTS’ MEMORANDUM OF LAW IN
       SUPPORT OF THE MOTION TO DISMISS THE COMPLAINT:

                  Executive Order 13364 of 29 November 2004
 “Modifying the Protection Granted to the Development Fund for Iraq and Certain
 Property in Which Iraq Has an Interest and Protecting the Central Bank of Iraq”
                    69 Fed. Reg. 70177-8 (November 29, 2004)




                                      -27-
Case 1:09-cv-01862-RMB-RLE        Document 11     Filed 08/03/09    Page 35 of 38




                                   EXHIBIT 5

    TO IRAQI SOVEREIGN DEFENDANTS’ MEMORANDUM OF LAW IN
       SUPPORT OF THE MOTION TO DISMISS THE COMPLAINT:

                       Presidential Notice of May 20, 2008
“Continuation of the National Emergency with Respect to the Stabilization of Iraq”
                      73 Fed. Reg. 26983-4 (May 21, 2008)




                                       -28-
Case 1:09-cv-01862-RMB-RLE     Document 11     Filed 08/03/09   Page 36 of 38




                                EXHIBIT 6

    TO IRAQI SOVEREIGN DEFENDANTS’ MEMORANDUM OF LAW IN
       SUPPORT OF THE MOTION TO DISMISS THE COMPLAINT:

                U.N. Security Council Resolution 1859 (2008)




                                    -29-
Case 1:09-cv-01862-RMB-RLE        Document 11      Filed 08/03/09    Page 37 of 38




                                   EXHIBIT 7

    TO IRAQI SOVEREIGN DEFENDANTS’ MEMORANDUM OF LAW IN
       SUPPORT OF THE MOTION TO DISMISS THE COMPLAINT:

                               Presidential Notice
“Continuation of the National Emergency with Respect to the Stabilization of Iraq,”
                           74 Fed. Reg. 23935 (May 21, 2009)




                                       -30-
Case 1:09-cv-01862-RMB-RLE            Document 11        Filed 08/03/09      Page 38 of 38




                             CERTIFICATE OF SERVICE

I hereby certify that on the 3rd day of August 2009, I electronically transmitted the
attached documents:

       MEMORANDUM OF LAW IN SUPPORT OF
       DEFENDANTS REPUBLIC OF IRAQ AND MINISTRY OF INDUSTRY
       OF THE REPUBLIC OF IRAQ MOTION TO DISMISS COMPLAINT

       and Exhibits 1through 7 thereto

to the Clerk of the Court using the ECF System for filing. Based on the records currently
on file, the Clerk of Court will transmit a Notice of Electronic Filing to the following
ECF registrant counsel for plaintiff:

                       John A. Piskora (JAP-1224)
                       Loeb & Loeb
                       345 Park Avenue
                       New York, NY 10154
                       212-407-4000
                       Email: jpiskora@loeb.com

                                      /s/ Stephen Albright




                                            -31-
